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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 1:12-cv-21932-KMM / TORRES

   GHM (SOUTH BEACH) LLC, a Delaware
   limited liability company,

          Plaintiff,
   v.

   SETAI OWNERS LLC, a Delaware limited
   liability company, TREVI LUXURY
   HOSPITALITY GROUP, INC., a Texas
   corporation, and SMB MANAGEMENT
   LLC, a Florida limited liability company,

         Defendants.
   ____________________________________/

          DEFENDANT SETAI OWNERS LLC’S RESPONSE IN OPPOSITION TO
               PLAINTIFF’S MOTION TO PERMANENTLY ENJOIN OR,
        IN THE ALTERNATIVE, FOR A PRELIMINARY INJUNCTION ENJOINING
            DEFENDANT SETAI OWNERS LLC FROM PROCEEDING WITH
          THE ARBITRATION FILED BEFORE THE INTERNATIONAL COURT
        OF ARBITRATION OF THE INTERNATIONAL CHAMBER OF COMMERCE

          Defendant Setai Owners LLC (“Owner”) files this Response in Opposition to Plaintiff’s

   Motion to Permanently Enjoin or, in the Alternative, for a Preliminary Injunction Enjoining

   Defendant Setai Owners LLC from Proceeding with the Arbitration Filed Before the

   International Court of Arbitration of the International Chamber Of Commerce (“Motion”) (D.E.

   1 at Exhibit 2), as follows:
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                                                   I.

                                   PRELIMINARY STATEMENT

          Plaintiff’s Motion is so lacking in merit in so many respects as to call into question the

   reasons for its continued prosecution in this Court. The Motion is predicated on arguments that,

   as a matter of law, must be addressed to, and resolved by, the arbitration tribunal in the pending

   proceeding before the International Court of Arbitration in Paris. Indeed, Plaintiff has already

   nominated its party-appointed arbitrator in that proceeding, and Plaintiff is scheduled to file its

   response to Owner’s Request for Arbitration on June 13, 2012.

          Apart from the dispositive fact that the arbitrators are to decide the arbitration-related

   issues raised in the Motion, Plaintiff’s arguments are without merit and do not, in any event,

   meet the necessary standards for the issuance of preliminary or permanent injunctive relief.

   Accordingly, the Motion should be denied.

                                                   II.

                         FACTUAL AND PROCEDURAL BACKGROUND

          Owner is the developer and primary owner of the Setai Resort & Residences (the

   “Hotel”) located in Miami Beach, Florida. Until March 31, 2012, General Hotel Management,

   Ltd., a British Virgin Islands company with its principal place of business in Singapore

   (“GHM”), and GHM (South Beach) LLC (“Plaintiff”) acted as Owner’s agents in the

   management of the Hotel under a Management Agreement dated March 20, 2000 (the

   “Management Agreement”).1 Article XXVI(1) of the Management Agreement provides:




          1
              See Management Agreement (Exhibit 1 hereto at Exhibit A).

                                                   2
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          The parties agree that in all matters relating to this Agreement, whether during its
          substance or after its termination, and also in all matters concerning the
          provisions of this Agreement where any question or dispute or difference shall be
          settled in mutual good faith. In case of failure by the parties to reach an amicable
          settlement, such difference or dispute shall be finally settled through a Board of
          Arbitrators in accordance with the Rules of Conciliation and Arbitration of the
          International Chamber of Commerce. The venue of arbitration shall be Dade
          County, Florida.2

          After years of failed attempts to cause GHM and Plaintiff to comply with their

   obligations, on March 31, 2012, Owner terminated the Management Agreement and initiated an

   arbitration against GHM and Plaintiff in the International Court of Arbitration of the

   International Chamber of Commerce located in Paris, France.3 In that arbitration, Owner seeks,

   among other relief, millions of dollars in damages caused by GHM and Plaintiff’s

   mismanagement of the Hotel and declaratory relief that Owner’s termination was proper.

          On May 2, 2012, in an effort to avoid its arbitration obligation, Plaintiff commenced the

   present lawsuit in state court and, on May 7, 2012, filed its Motion. By Notice of Removal dated

   May 23, 2012 (the “Notice of Removal”), Owner removed the case to this Court pursuant to 9

   U.S.C. § 205, which provides for removal of actions relating to international arbitration

   agreements.4 On May 30, 2012, Owner filed a motion for more definite statement and to dismiss

   (the “Motion to Dismiss”),5 in which it seeks the dismissal of Plaintiff’s claims for declaratory

   and injunctive relief relating to the pending arbitration because of Plaintiff’s failure to state a


          2
              Id. at 21, art. XXVI § 1.
          3
              See Request for Arbitration (Exhibit 1 hereto).
          4
              See Notice of Removal (D.E. 1).
          5
           See Defendant Setai Owners LLC’s Motion for More Definite Statement and Motion to
   Dismiss with Incorporated Memorandum of Law (D.E. 11).

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   claim upon which relief can be granted.6 Owner hereby incorporates into this Opposition the

   factual bases and evidence set forth in and supporting its Motion to Dismiss and Notice of

   Removal.

                                                    III.

                                    SUMMARY OF OPPOSITION

          Plaintiff seeks a preliminary and/or permanent injunction “enjoining Owner from

   proceeding with the arbitration proceedings before the International Court of Arbitration of the

   International Chamber of Commerce filed by Owner.”7 In support of that extraordinary (and

   demonstrably improper) request, Plaintiff asserts that Owner’s claims in arbitration are not

   arbitrable because Owner allegedly failed to comply with certain conditions precedent to the

   initiation of arbitration and, as a result, somehow waived the right to arbitrate.

          Plaintiffs’ Motion should be denied for at least three independent reasons. First, the

   Arbitral Tribunal in the pending proceeding in the International Court of Arbitration, rather than

   the Court, must determine any questions regarding the satisfaction of conditions precedent to

   arbitration and waiver of arbitration. Second, beyond constituting matters to be decided in the

   arbitration, Plaintiff’s arguments regarding the satisfaction of conditions precedent and waiver

   are without merit. Third, in any event, Plaintiff has not established an entitlement to either

   permanent or preliminary injunctive relief under the applicable standards.




          6
              See Motion to Dismiss at 7-9.
          7
              See Motion at 14.

                                                     4
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                                                    IV.

                                ARGUMENTS AND AUTHORITIES

   A.     The Arbitration Tribunal, Rather Than The Court, Must Determine Questions
          Regarding Arbitration-Related Conditions Precedent And Waiver.

          Plaintiff’s assertion that the arbitration must be enjoined because of a failure of

   conditions precedent and/or a waiver is without merit because only the arbitrators can decide that

   issue. The United States Supreme Court has made clear that questions of arbitration-related

   waiver and conditions precedent are to be decided by the arbitrators, not the courts.8 The

   Eleventh Circuit recently confirmed that while the issue of waiver by litigation conduct (i.e.

   filing a lawsuit and then seeking to enforce arbitration) is a question for the courts, the question

   of waiver through failure to comply with conditions precedent is a question for the arbitrators.9



          8
              See Howsam v. Dean Witter Reynolds, Inc., 537 U.S. 79, 84-85 (2002) (“Thus
   procedural questions which grow out of the dispute and bear on its final disposition are
   presumptively not for the judge, but for an arbitrator, to decide. So, too, the presumption is that
   the arbitrator should decide allegations of waiver, delay, or a like defense to arbitrability. Indeed,
   the Revised Uniform Arbitration Act of 2000, seeking to incorporate the holdings of the vast
   majority of state courts and the law that has developed under the Federal Arbitration Act, states
   that an ‘arbitrator shall decide whether a condition precedent to arbitrability has been fulfilled.’
   And the comments add that in the absence of an agreement to the contrary, issues of . . .
   procedural arbitrability, i.e., whether prerequisites such as time limits, notice, laches, estoppel,
   and other conditions precedent to an obligation to arbitrate have been met, are for the arbitrators
   to decide.”) (internal punctuation and citations omitted, emphasis in original); see also PTA-
   FLA, Inc. v. ZTE USA, Inc., No. 3:11–cv–510–J–32JRK, 2011 WL 5024647, at *4 (M.D. Fla.
   Oct. 31, 2011).
          9
             See Grigsby & Associates, Inc. v. M Securities Inv., 664 F.3d 1350, 1353 (11th Cir.
   2011) (“In Howsam the Supreme Court listed as issues presumptively for the arbitrator
   ‘allegations of waiver, delay, or a like defense to arbitrability.’ . . . Circuits, in the most part,
   treated Howsam’s use of the term ‘waiver’ as referring not to conduct-based waiver, but to a
   ‘defense arising from non-compliance with contractual conditions precedent to arbitration.’ The
   reasoning of the First, Third, and Sixth Circuits is persuasive to us.”) (internal citations and
   punctuation omitted).

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           Plaintiff’s reliance on two prior decisions refusing to compel arbitration based on a

   failure to meet conditions precedent is misplaced.10 As another court recently noted, those

   decisions were superseded by the United States Supreme Court’s decision in Howsam, which

   held that the question of whether conditions precedent to arbitration have been met is a question

   for the arbitrators, not a court, to determine.11

           Finally, when a party agrees to a set of procedures to determine arbitrability, those

   procedures govern whether the court or an arbitrator determines arbitrability.12 Here, the parties

   agreed to arbitrate according to the rules of arbitration of the International Chamber of

   Commerce.13       Those rules provide that questions of arbitrability are to be decided by the

   arbitrators.14 Accordingly, only the arbitrators, and not the Court, can determine whether the

   claims asserted are arbitrable. Plaintiff’s Motion should, therefore, be denied.



           10
             See Motion at 7-8 (relying on Kemiron Atl., Inc. v. Aguakem Int’l, Inc., 290 F.3d 1287
   (11th Cir. 2002) and HIM Portland LLC v. Devito Builders Inc., 317 F.3d 41, 44 (1st Cir. 2003)).
           11
               See PTA-FLA, Inc., 2011 WL 5024647, at *3-4 (“Whether those steps satisfy the
   condition precedent in paragraph 20 of the Agreement is not for this Court to decide. Pursuant to
   Howsam, an arbitrator shall decide whether a condition precedent to arbitrability has been
   fulfilled.”).
           12
             See Rent-A-Center, West, Inc. v. Jackson, ___ U.S. ___, 130 S. Ct. 2772, 2776 (2010)
   (“We have recognized that parties can agree to arbitrate ‘gateway’ questions of ‘arbitrability,’
   such as whether the parties have agreed to arbitrate or whether their agreement covers a
   particular controversy.”); In re Checking Account Overdraft Litigation MDL No. 2036, 674 F.3d
   1252, 1256 (11th Cir. 2012) (“An arbitrator, not the district court, must decide whether those
   claims are within the scope of the arbitration agreement.”).
           13
                See Management Agreement at 21, art. XXVI § 1 (Exhibit 1 hereto at Exhibit A).
           14
              See 2012 Arbitration and ADR Rules of the International Court of Arbitration of the
   International Chamber of Commerce at 14, art. 6(3) (“If any party against which a claim has
   been made does not submit an answer, or raises one or more pleas concerning the existence,
   validity or scope of the arbitration agreement or concerning whether all of the claims made in the
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   B.     Apart From Constituting Matters To Be Decided In The Pending Arbitration,
          Plaintiff’s Arguments Regarding Conditions Precedent To Arbitration And Waiver
          Of Arbitration Are Without Merit.

          1.        Plaintiff’s argument regarding alleged conditions precedent to arbitration is
                    without merit.

          Plaintiff asserts that Owner “violated the Management Agreement provisions requiring

   engaging in dispute resolution as a precondition to arbitration.”15 That allegation is incorrect for

   two reasons.

                    a.     There were no “dispute resolution” conditions precedent to
                           arbitration.

          The now-terminated Management Agreement is devoid of any contractually-mandated,

   pre-arbitration “dispute resolution” process.        The operative arbitration provision of the

   Management Agreement consists of two sentences:

          In case of failure by the parties to reach an amicable settlement, such differences
          or dispute shall be finally settled through a Board of Arbitrators in accordance
          with the Rules of Conciliation and Arbitration of the International Chamber of
          Commerce. The venue of the arbitration shall be Dade County, Florida.16

   As the foregoing makes clear, unsettled (i.e., unresolved) disputes must be arbitrated. Disputes

   settled prior to such arbitration, obviously, do not require arbitration. Thus, those provisions

   establish no condition precedent other than the existence of an unresolved dispute.




   arbitration may be determined together in a single arbitration, the arbitration shall proceed and
   any question of jurisdiction or of whether the claims may be determined together in that
   arbitration shall be decided directly by the arbitral tribunal, unless the Secretary General refers
   the matter to the Court for its decision pursuant to Article 6(4).”).
          15
               See Motion at 4.
          16
               See Management Agreement at 21, Art. XXVI(1) (Exhibit 1 hereto at Exhibit A).

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           However, Plaintiff also attempts to rely on the sentence preceding the above-quoted

   arbitration provision which states, in incomplete and ungrammatical fashion: “The parties agree

   that in all matters relating to this Agreement, whether during its substance [sic] or after its

   termination, and also in all matters concerning the provisions of this Agreement where any

   question or dispute or difference shall be settled in mutual good faith [sic].”17 To the extent that

   Plaintiff asserts that the above-quoted non-sentence constitutes a mandate on private settlement

   of all disputes (i.e., an agreement to agree) – and, thus, a prohibition on any unresolved disputes

   – Plaintiff’s interpretation goes too far. As demonstrated above, the two subsequent sentences of

   Article XXVI(1) contemplate the existence of unresolved disputes necessitating resolution by

   arbitration.

           Furthermore, that non-sentence does not, by its terms, require pre-arbitration mediation,

   negotiation, prior notice, or opportunity to cure. In fact, Plaintiff’s notice-and-cure argument

   confuses the contractual right of termination (set forth in Art. XXIV(1.1) of the Management

   Agreement18) with the contractual mandate to arbitrate unresolved disputes (set forth in Art.

   XXVI19).       The two are entirely separate matters governed by different provisions of the

   Management Agreement. Thus, Owner could have initiated an arbitration prior to termination or

   without any termination whatsoever. Likewise, Owner could have terminated the Management

   Agreement without initiating an arbitration. The contractual notice-and-cure provisions relating

   to termination of the Management Agreement have nothing to do with arbitration. Furthermore,


           17
                Id.
           18
                See id. at 15-16.
           19
                See id. at 21.
                                                    8
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   even as to the termination-related notice-and-cure provisions, those provisions in no way

   affected, or otherwise limited, Owner’s common law right to terminate the Management

   Agreement upon Plaintiff’s material breach thereof.20 It is that common law right which Owner

   exercised in terminating the Management Agreement on March 31, 2012.21

                    b.      Owner attempted to obtain from Plaintiff information relating to its
                            claims, but Plaintiff refused to cooperate.

          As its Request for Arbitration plainly shows, Owner attempted on numerous occasions to

   obtain information from Plaintiff regarding the very subject of its subsequent claims.22 Despite

   its duties of candor, full disclosure, loyalty, good faith, and fair dealing as Owner’s agent and

   fiduciary, Plaintiff refused those requests for information in the most insubordinate and

   inappropriate manner.23 In short, Plaintiff’s condition precedent arguments are without merit.




          20
             Pursuant to Florida common law, if a party materially breaches a contract, the non-
   breaching party is discharged from its obligations and may terminate the contract. See Kaufman
   v. Swire Pacific Holdings, Inc., Case No. 09–20160–CIV, 2011 WL 6780924, at *7 n. 4 (S.D.
   Fla. Dec. 27, 2011) (“Under contract law, a material breach of a contract allows the non-
   breaching party to treat the breach as a discharge of his contract liability.” (citing Bradley v.
   Health Coalition, Inc., 687 So. 2d 329, 333 (Fla. 3d DCA 1997))).
          21
             See Request for Arbitration at 18, ¶ 51 (“Owner’s termination was in strict accord with
   Florida common law, which provides a non-defaulting party the right to terminate a contract
   within impunity in the event of the party’s material breach thereof (which is separate from, and
   in addition to, the contractual termination rights set forth in Section 1.1 of Article XIX of the
   Management Agreement).”) (Exhibit 1 hereto).
          22
               See id. at 15-17, ¶¶ 44-48.
          23
               See id.

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           2.        Plaintiff’s argument regarding Owner’s purported “waiver” of arbitration is
                     without merit.

           It is impossible for Plaintiff to meet its “heavy burden” of establishing that a waiver has

   occurred.24 Waiver occurs when a party’s conduct is inconsistent with an intent to arbitrate.25

   Owner initiated arbitration against Plaintiff on March 31, 2012, before Plaintiff initiated a

   lawsuit against Owner on May 2, 2012.26 Indeed, relying upon inapposite decisions dealing with

   a party’s waiver of a right to arbitrate by commencing an arbitration too late, Plaintiff argues that

   Owner waived its right to arbitrate by initiating an arbitration proceeding too early. Even if

   Plaintiff were correct that the arbitration is premature due to the failure to engage in some

   unspecified pre-arbitration dispute resolution process (which, as shown above, is not the case),

   the remedy would hardly be litigation. After all, regardless of the extent of the parties’ prior

   efforts to settle Owner’s claims, they mutually agreed that the ultimate dispute resolution process

   would be arbitration – and not court litigation. Owner cannot have intended to waive its right to

   arbitrate when it, in fact, filed an arbitration request.

           Moreover, Plaintiff cannot genuinely contend that it suffered any prejudice from any

   delay arising from Owner’s purported waiver of its right to arbitrate, because Owner promptly

   initiated arbitration. In addition, Plaintiff cannot possibly prove – and, therefore, does not allege


           24
             See Krinsk v. SunTrust Banks, Inc., 654 F.3d 1194, 1200 n. 17 (“Because federal policy
   strongly favors arbitration, the party who argues waiver ‘bears a heavy burden of proof’ . . .”).
           25
               See Morewitz v. West of England Ship Owners Mut. Protection and Indem. Ass’n
   (Luxembourg), 62 F.3d 1356, 1366 (11th Cir. 1995) (“Waiver occurs when a party seeking
   arbitration substantially participates in litigation to a point inconsistent with an intent to arbitrate
   and this participation results in litigation to a point inconsistent with an intent to arbitrate and
   this participation results in prejudice to the opposing party.”).
           26
                See Request for Arbitration filed March 31, 2012 (Exhibit 1 hereto).

                                                      10
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   – that circumstances would have been different or that Owner’s claims would have been settled

   if Owner had only made further attempts to resolve its claims (and obtain information from

   Plaintiff relating thereto) prior to initiating arbitration.     Because Plaintiff cannot establish

   prejudice, Owner cannot be found to have waived a right to arbitrate.27

   C.     Plaintiff Has Not Established, And Cannot Demonstrate, An Entitlement To
          Preliminary Or Permanent Injunctive Relief.

          Plaintiff’s Motion relies on Florida state court injunction standards.28 While Owner

   could also show that the Motion has no merit under Florida law, the standards applicable in this

   Court for the issuance of preliminary and permanent injunctive relief are provided by federal, not

   state, law. Under the applicable federal standards, Plaintiff has not established, and cannot

   establish, an entitlement to preliminary or injunctive relief for at least three reasons.

          1.         Plaintiff cannot establish a probability of success on the merits of any
                     cognizable claim for which the requested injunction constitutes available
                     relief.

          Plaintiff alleges that it has established a “substantial likelihood of success on the

   merits,”29 but fails to identify any claim (i.e., a cause of action) which it purports to have

   established. Rather, Plaintiff can only say “that it is likely to succeed in its arguments.”30 That

   semantical switch (replacing “claims” with “arguments”) reflects a fundamental flaw in the


          27
              See Krinsk, 654 F.3d at 1200 (“To determine whether a party has waived its
   contractual right to arbitrate, courts apply a two-part test: First, they decide if, under the totality
   of the circumstances, the party has acted inconsistently with the arbitration right, and, second,
   they look to see whether, by doing so, that party has in some way prejudiced the other party.”)
   (internal punctuation and quotations omitted).
          28
               See Motion at 6.
          29
               See Motion at 11.
          30
               Id.
                                                     11
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   Motion. Specifically, Plaintiff cannot establish the merits of any underlying claim – because

   none exists.

          In Klay,31 the United States Court of Appeals for the Eleventh Circuit addressed – and

   rejected – the very arguments Plaintiff asserts here with respect to probability of success on the

   merits. In the words of the Eleventh Circuit:

          The injunction the plaintiffs sought prevented the defendants from arbitrating
          certain claims against them. “Wrongful arbitration,” however, is not a cause of
          action for which a party may sue. In initiating an arbitration anyway on those
          [nonarbitrable] claims, the defendants simply did not violate any of the plaintiffs’
          legally cognizable rights . . . Consequently, the 2002 Injunction Order is not
          cognizable or defensible as a “traditional” injunction.32

                                                   ***

          As noted earlier, however, “wrongful arbitration” is not a cause of action. Thus,
          even if the plaintiffs were correct in stating that the claims at issue were
          nonarbitrable, there is still no cause of action for which they would have a
          likelihood of success. Put another way, the plaintiffs had not stated any legally
          cognizable claim upon which they could have any likelihood of success on the
          merits at all. Thus, even viewing this ruling on its own terms, the court
          misapplied the “likelihood of success” prong for granting injunctive relief.33

   Simply put, even if Plaintiff were correct (and it is not) that certain of Owner’s claims should not

   be arbitrated, Plaintiff has no cause of action to prevent those claims from being arbitrated.

   Accordingly, application of Klay to the pending Motion demonstrates that Plaintiff cannot

   establish a likelihood of success on the merits of any cognizable claim (i.e., any recognized

   cause of action).



          31
               See Klay v. United Healthgroup, Inc., 376 F.3d 1092 (11th Cir. 2004).
          32
               Id. at 1098.
          33
               Id. at 1112.

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          2.        Plaintiff cannot establish a likelihood of any irreparable harm.

          Plaintiff alleges that it will “undoubtedly suffer irreparable harm” in the absence of

   injunctive relief.34 To the contrary, as the Eleventh Circuit also made clear, Plaintiff will suffer

   no irreparable injury if the arbitration proceeding is not enjoined, even if the arbitration involves

   non-arbitrable claims. In the words of that court:

          [T]he district court’s conclusion regarding irreparable injury was patently wrong.
          Even if the defendants were permitted to proceed with arbitrating nonarbitrable
          claims, it is unclear how the plaintiffs would suffer any injury at all, much less
          irreparable injury. The plaintiffs would not have to participate in the defendants’
          arbitration proceedings. Even if the defendants obtained a default verdict against
          them, they would be unable to have it enforced in a district court because a
          district court is empowered to vacate arbitral awards where the “arbitrators
          exceeded their powers.” 9 U.S.C. § 10(a)(4). If a dispute is nonarbitrable, then an
          arbitrator necessarily exceeds his powers in adjudicating it. Consequently, while
          the defendant is free to initiate whatever private arbitration proceedings he
          wishes, a plaintiff need not be troubled by them because they are essentially legal
          nullities from the start.35

   If Plaintiff strongly believes that arbitration has been waived or that the conditions precedent

   have not been met, then Plaintiff need not appear in the arbitration and can contest the award

   when confirmation is sought. If Plaintiff is not confident about its position, then it cannot argue

   in good faith that it is likely to succeed on the merits. For those reasons, too, the Motion should

   be denied.36


          34
               See Motion at 11.
          35
               Klay, 376 F.3d at 1112 n. 20.
          36
              Plaintiff mentions in passing that arbitration may be expensive. The Klay court also
   held that such a cost does not constitute irreparable harm. See id. at 1112 n. 20 (“Even if a
   plaintiff does decide to raise the justiciability issue before the arbitration panel, the time and
   expense he incurs in doing so simply does not constitute irreparable injury. ‘Mere injuries,
   however substantial, in terms on money, time and energy necessarily expended in the absence of
   a stay, are not enough.’”) (citations omitted).

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          3.        Even if Plaintiff had attempted to seek injunctive relief under the All Writs
                    Act, it could not succeed.

          Finally, even if Plaintiff had amended its Motion to seek an injunction under the All

   Writs Act,37 Plaintiff could not establish an entitlement to an injunction. In particular, Klay held

   that an arbitration involving nonarbitrable claims does not threaten a federal court’s jurisdiction

   and, therefore, does not warrant relief under the All Writs Act.

          More particularly, the Eleventh Circuit in Klay noted that the “simple fact that litigation

   involving the same issues occurring concurrently in another form does not sufficiently threaten

   the court’s jurisdiction as to warrant an injunction under the [All Writs] act.”38 Then, equating

   parallel state and federal court proceedings to co-existing litigation and arbitration, the court in

   Klay stated:

          [A] federal court may not enjoin state court proceedings simply because parallel
          in personam proceedings are being pursued concurrently in federal court. This
          restriction must be based on the premise that state court proceedings arising from
          the same facts or claims as pending in personam federal proceedings do not
          threaten the federal court’s jurisdiction over its case, despite the threat of res
          judicata or collateral estoppel from the state court case. Given that parallel state
          court proceedings may peacefully co-exist with in personam federal proceedings,
          it is difficult to understand why a parallel arbitration could not.39

   Thus, the Eleventh Circuit stated that the district court “was not empowered to enjoin arbitration

   of the nonarbitrable claims under the All Writs Act.”40



          37
            See id. at 1104 (“If the injunction in this case is to be upheld, it must be under the All
   Writs Act.”).
          38
               Id. at 1103.
          39
               Id. at 1111.
          40
               Id. at 1113.

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                                                 V.

                                    REQUEST FOR RELIEF

          For the foregoing reasons, Owner requests that the Court enter an order: (1) denying the

   Motion; and (2) granting Owner such other relief to which it is entitled and which the Court

   deems just and proper.




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   Dated: June 8, 2012                Respectfully submitted,
          Miami, Florida

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                                   CERTIFICATE OF SERVICE

           I certify that on June 8, 2012, I electronically filed the foregoing document with the
   Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this
   day on all counsel of record or pro se parties identified on the attached Service List in the
   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
   or in some other authorized manner for those counsel or parties who are not authorized to receive
   electronically Notices of Electronic Filing.

                                               s/Elizabeth B. Honkonen




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                                         SERVICE LIST
                         GHM (South Beach LLC) v. Setai Owners LLC, et al.
                              CASE NO. 1:12-cv-21932-KMM/TORRES
                       United States District Court, Southern District of Florida


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